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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 UNITED STATES OF AMERICA                         :            CRIMINAL ACTION
                                                  :
               v.                                 :            NO. 18-193
                                                  :
 DKYLE JAMAL BRIDGES,                             :            FFILED UNDER SEAL
 KRISTIAN JONES, ANTHONY                          :
 JONES                                            :
           Defendants                             :

                                            ORDER
       AND NOW, this 22nd day of March 2019, upon consideration of the Government’s

supplemental motion in limine to clarify scope of victim & eyewitness testimony and motion for

oral argument, (Doc. 182), and the Defendants’ oral objections thereto, it is hereby ORDERED

that the motion is GRANTED, in part, as follows:

       (1) after a proper foundation, the Government may introduce the testimony of those

           purported eyewitnesses identified in the Government’s motion with respect to their

           observations of the Defendants’ alleged treatment of the purported sex trafficking

           victims identified in the indictment; and

       (2) the Government is precluded from introducing any testimony of those eyewitnesses

           identified in the motion with respect to their own status as purported sex trafficking

           victims.



                                            BY THE COURT:


                                            /s/ Nitza I. Quiñones Alejandro
                                            NITZA I. QUIÑONES ALEJANDRO
                                            Judge, United States District Court
